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                   IN THE UNITED STATES "DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



          ERIN SMITH, ET AL.

                                         PLAINTIFF,

                                                 CASE NO. 21-CV-02170

                  KAUFMAN,   ET AL. ,

                                   DEFENDANT.




                                  REMOTE DEPOSITION VIA ZOOM AND
                             HOSTED BY VETERAN REPORTERS, INC OF
                              DAVID CHADWICK WALLS-KAUFMAN, D.C.

                                         THURSDAY, FEBRUARY 27, 2025
                                                          10:03 A.M.

                                                  GOODWIN WEBER PLLC
                                                11115 LAKE VIEW LANE
                                                          SUITE 1698
                                              BERLIN, MARYLAND 21811
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1           APPEARANCES                                           1               INDEX
2 ON BEHALF OF THE PLAINTIFF,                                     2                   Page
3 ERIN SMITH, ET AL.:                                             3 DAVID CHADWICK WALLS-KAUFMAN, D.C.:
4 RICHARD J. LINK, ESQUIRE                                        4 DIRECT EXAMINATION BY MR. LINK   6
5 GOODWIN WEBER PLLC                                              5
      - ---   --   ----                                                      -                           ----   -


6 11115 LAKE VIEW LANE                                            6
7 SUITE 1698                                                      7          EXHIBITS
 8 BERLIN, MARYLAND, 21811                                        8 Exhibit             Page
 9 TELEPHONE: 301.850.1600                                         9
10 FACSMILE: 301.850.3374                                         10             NONE MARKED
11 EMAIL: RICHARD.LINK@GOODWINWEBERLAW.COM                        11
12                                                                12
13 ON BEHALF OF THE PLAINTIFF,                                    13
14 ERIN SMITH, ET AL.:                                            14
15 DR. DAVID P. WEBER, ESQUIRE                                    15
16 GOODWIN WEBER PLLC                                             16
17 11115 LAKE VIEW LANE                                           17
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23                                                                23
24                                                                24
25                                                                25


                                                             3                                                               5

 1          APPEARANCES                                            1        REMOTE DEPOSITION VIA ZOOM AND
 2 ON BEHALF OF THE DEFENDANT,                                     2       HOSTED BY VETERAN REPORTERS, INC OF
 3 DAVID KAUFMAN, ET AL.:                                          3       DAVID CHADWICK WALLS-KAUFMAN, D.C.
 4 HUGHIE D. HUNT, II, ESQUIRE                                     4         THURSDAY, FEBRUARY 27, 2025
 5 KEMET HUNT LAW GROUP                                            5               10:03 A.M.
                                                        )

 6 7845 BELLE POINTE DRIVE                                         6            COURT REPORTER: My name is Tamara
 7 GREENBELT, MARYLAND, 20770                                      7 Adams. I am with the, I am the court reporter who
 8 TELEPHONE: 301.982.0888                                         8 will be taking today's deposition. I am with the
 9 FACSMILE: 301.982.0889                                          9 National firm of County Court Reporters. Today's
10 EMAIL: HUGHIEHUNT@KEMETHUNTLAW.COM                             10 the 27th day of February, 2025 and the time is
11                                                                11 approximately 10:08 a.m. We are meeting virtually
12 OBSERVERS:                                                     12 via Zoom to take the deposition of Mr. David
13 ERIN SMITH                                                     13 Walls Kaufman, in the matter of Aaron Smith et al
14 ANTHONY MICHAEL SHORE                                          14 versus David Kaufman et al, case number 21-CV-
15                                                                15 02170. Will counsel please identify yourself for
16                                                                16 the record stating your name, firm, address, and
17                                                                17 whom you represent?
18                                                                18           MR. HUNT: Good morning for the
19                                                                19 record. My name is Hughie Hunt. I represent Dr.
20                                                                20 David Walls Kaufman, the address is 7845 Belle
21                                                                21 Point Drive, Greenbelt, Maryland 20770.
22                                                                22           MR. WABER: Good morning? This is
23                                                                23 Dr. David Weber, one of the attorneys for the
24                                                                24 plaintiffs. I'm with the law firm, Goodwin Weber
25                                                                25 PLLC, with the address of 11115 Lake View lane,




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 1 number 1698 Berlin, Maryland 21811.                               1 Understood?
 2         MR. LINK: This is Richard Link on                         2     A. Yes.
 3 behalf of the plaintiff at the same business                      3     Q. At any time we need to take a break,
 4 address. Also with us is our client, Aaron Smith.                 4 for example, to use the restroom, I would, I'm
 5           COURT REPORTER: Thank you. Will                         5 okay with that. I would ask however, if there is
                                                                           - -- -~-              -           --  --
                                                                                                                  -        -   --    ----

 6 the deponent please state your full name and                      6 a question pending that you answer the question
 7 complete address for the record?                                  7 that I've asked before we take the break.
 8         DEPONENT: Dr. David Chadwick                              8 Understood?
 9 Walls Kaufman, address, 2302 Halls Grove road,                    9    A. Yes.
10 Gambrills, Maryland 21054.                                       10    Q. Are you today under the influence of
11          COURT REPORTER: Mr. Walls                               11 any alcohol, medication, anything that would
12 Kaufman, can you please raise your right hand? Do                12 affect your ability to understand what we're
13 you solemnly swear or affirm that the testimony                  13 doing today?
14 you are about to give today will be the truth,                   14     A. No.
15 the whole truth, and nothing but the truth, so                   15     Q. You have with you; Mr. Hunt is your
16 help you God?                                                    16 counsel of record?
17          DEPONENT: I do.                                         17     A. Yes.
18          COURT REPORTER: We are now on the                       18     Q. You also have with you Mr. Shore. What
19 record.                                                          19 is his current role in your case in that?
20 DAVID CHADWICK WALLS-KAUFMAN, D.C.,having been                   20     A. He is a high school friend and he's
21 duly sworn by the Notary, was examined and                       21 also an attorney.
22 testified as follows:                                            22     Q. Is there anybody else present with you
23 DIRECT EXAMINATION                                               23 besides Mr. Shore?
24 BY MR. LINK:                                                     24     A. No.
25    Q. Good morning Dr. Walls Kaufman? Richard                    25            MR. WASER: This is David Weber


                                                                7                                                                           9

 1 Link, can you hear me okay?                                       1 speaking on behalf of the plaintiffs. We would
 2    A. I can.                                                      2 object to Mr. Shore being present. He is no
 3    Q. We're doing this deposition remotely. I                     3 longer counsel of record in this matter. He filed
 4 do want to go over some ground rules before we                    4 a line withdrawing and he does not have any
 5 get started. Everything we say is going to be                     5 business being here and is not authorized to
 6 transcribed by the court reporter. Do you                         6 render advice in this federal court matter.
 7 understand that?                                                  7 Again, I defer to Mr. Hunt on how to resolve
 8    A. I do.                                                       8 that. We're certainly not going to postpone the
 9    Q. If at any time you're not having,                           9 deposition, but we are noting our objection for
10 you're having difficulty understanding me, please                10 the record.
11   ask me to repeat the question. Ii will be a                    11            MR. HUNT: I'm not asking for you
12   little bit more cumbersome with Zoom, but it, we               12 to postpone the deposition and he's not advising
13   can still get this done, but please ask me to                  13 Dr. Kaufman. As you know, depositions are public
14   repeat if you do not hear the question or do not               14 just like a court proceeding. Anybody can be
15   understand the question. Okay?                                 15 present, can't exclude somebody from the
16      A. Yes.                                                     16 deposition. I mean, at least I'm not aware of any
17      Q. If you answer a question I think I                       17 case law to suggest that. If you want to point me
18 would accept that you understood my question                     18 in that direction, I'm happy to take a look at it
19 before you answered that. Do you agree with that?                19 and resolve it. But as long as I've been
20    A. Yes.                                                       20 practicing depositions have been public affairs.
21    Q. It's important when I'm doing a                            21            MR. WASER: We're noting our
22 deposition that you wait for me to complete the                  22 objection for the record.
23 questions that I ask before responding. I in turn                23            MR. HUNT: Understood.
24 will try to wait for you to complete your                        24 CONTINUATION OF DIRECT EXAMINATION
25 response before asking a follow up question.                     25 BY MR. LINK:




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 1    Q. Dr. Walls Kaufman or Dr. Kaufman, what                      1     A. Tierney McCracken ...
 2 do you prefer?                                                    2     Q. Did that case go to trial?
 3     A.   Dr. Kaufman is easier.                                   3     A. It did not.
 4     Q. Dr. Kaufman, have you ever had your                        4     Q. Did it settle before trial?
 5 deposition taken before?                                          5     A. Yes.
                                                                            -----


 6     A. Yes.                                                       6     Q. What was the nature of the case about?
 7     Q. How many times?                                            7 What was the plaintiff claiming?
 8     A. Once.                                                      8     A. Well, she changed her accusation three
 9     Q. What kind of case?                                         9 times, so I'm not really sure what the last one
10     A.   I'm not sure what you would call it.                    10 was.
11     Q. Well, was it a malpractice case? A tort                   11     Q. Well what is your memory of the ones
12 case contract case?                                              12 that she alleged?
13    A. I, I guess you'd call it a malpractice                     13     A. First rape, then sexual assault and
14 case.                                                            14 lastly that I was treating her as a psychiatrist.
15     Q. Is that Superior Court or some other                      15     Q. Was Mr. McCracken a patient of yours?
16 place?                                                           16     A. I knew her over the course of 1O years
17     A.   I don't know.                                           17 and she was a patient twice. I'm not really sure
18     Q. When was it?                                              18 if she was a patient at the time.
19     A. I'd say 1990 February.                                    19    Q. Would it be fair to say she alleged in
20     Q. That's the only time you've given a                       20 her paperwork or her complaints to the court that
21 deposition in your life?                                         21 she was your patient?
22     A. Yes, I believe so.                                        22     A. Yes.
23     Q. Note before I asked you about that                        23    Q. Did you in fact have a sexual
24 case, you were or a chiropractor?                                24 relationship with her?
25    A. I'm sorry.                                                 25    A. Yes.


                                                               11                                                             13

 1     Q. You were a chiropractor by profession?                     1     Q. As I understand it, one of the
 2     A. Yes.                                                       2 allegations she made was that you physically
 3     Q. In connection with being a                                 3 assaulted her or something of that nature. Is
 4 chiropractor, did you ever represent depositions                  4 that accurate?
 5 in connection with a personal injury case or                      5     Q. Are you asking if that's what she
 6 anything like that?                                               6 alleged?
 7     A. Yes.                                                       7     A. Correct, yes.
 8     Q. How often, how frequently do you do                        8     Q. What is your response to that?
 9 that?                                                             9     A. That I did not.
10     A. I think just once.                                        10    Q. With respect to the rape, is it your
11     Q. Do you know what, when, in what court                     11 understanding that McCracken was claiming there
12 you were in?                                                     12 was a coerced or non-consensual relationship?
13    A. DC Court.                                                  13   A. Yes.
14     Q. When was that?                                            14     Q. Other than the non-consensual sexual
15     A. Maybe 1998. I'm not sure.                                 15 activity, your understanding, was there any other
16     Q. In connection with your 1994                              16 basis from her assault claim?
17 deposition, were you a party or just a witness to                17     A. I'm not sure I understand the question.
18 that case?                                                       18     Q. Sure. Assault is when somebody touches
19     A. I was a party.                                            19 you without permission. Do you understand that?
20     Q. Were you the plaintiff, the person                        20    A. Okay. Yes.
21 doing the suing or were you the defendant, the                   21     Q. Other than her claim of not having, do
22 person being sued?                                               22 you understand, let me ask you this. What is your
23     A.   I was the defendant.                                    23 understanding of the basis for her assault?
24     Q. Do you remember who was the plaintiff                     24     A. I'm not sure.
25 in that case?                                                    25     Q. I'm not saying you agree with it, but




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                                                           14                                                             16
 1 what did she allege? What did she claim?                       1 described?
 2   A. I'm really not sure I remember.                           2    A. Yes.
 3   Q. Is that the only time in your                             3    Q. That was not at a police station or was
 4 professional career you've been sued?                          4 that your residence?
 5     A. Yes.                                                    5    A. No, that--was in my office.
                                                                              ·--    ---                          -
 6     Q. Did you have a lawyer for that case?                    6    Q. What happened after that in connection
 7     A. Yes.                                                    7 with the allegations?
 8     Q. Who was that?                                           8    A. She changed her story.
 9     A. Frank Dunham.                                           9    Q. She changed it from what to what?
10     Q. D-U-N-H-A-M?                                           10    A. She said that I didn't rape her, but
11     A. Yes.                                                   11 that I sexually assaulted her.
12     Q. How long did the litigation last from                  12    Q. Well, did MPD or anybody at any
13 the time you got served until it got settled?                 13 prosecutor's office charge you with that?
14     A. I really don't remember.                               14 Anything in connection with that?
15     Q. Do you recall that the case went up to                 15    A. No, not to my knowledge.
16 the DC Court of Appeals at one point?                         16     Q. Did you ever have to appear in court?
17     A. I don't. Oh wait, yes, I do remember. I                17 Were you arraigned or advised of charges against
18 do remember we did appeal that.                               18 you in connection with that?
19     Q. Are you aware there's a reported                       19    A. No.
20 decision from the DC Court of Appeals on that                 20     Q. Did you retain counsel in connection
21 situation?                                                    21 with that?
22     A. Am I aware that there's a report?                      22    A. That was Mr. Dunham.
23     Q. There's was decision from the highest                  23     Q. If I can summarize what you just told
24 court in DC pertaining to that case. Are you                  24 me, the total involvement as far as the criminal
25 aware of that?                                                25 part of that case, and you spoke one time to an


                                                            15                                                            17
 1     A. Yes.                                                    1 MPD officer and then it went away. Is that your
 2     Q. Given how long appeals take, would you                  2 testimony?
 3 agree that the litigation went on for at least                 3    A. That charge went away?
 4 two, maybe three years?                                        4     Q. Was there any other charges that didn't
 5     A. I honestly don't remember.                              5 go away?
 6     Q. The reported decision mentioned that                    6    A. Well, she changed her accusation to
 7 there was a criminal case, or excuse me, that the              7 sexual assault.
 8 plaintiff had reported a sexual assault to MPD.                8    Q. What did she claim?
 9 Do you recall that?                                            9    A. That I had, assaulted her.
10     A. Yes, I do.                                             10    Q. Did she claim you grabbed certain part
11 • Q. What became of that complaint?                           11 of her body, kissed her? Like what is her, what
12     A. An officer appeared at my office and                   12 was her claim?
13 asked to speak with me and I spoke with him and               13    A. I don't know.
14 he asked me about it. He said that she had                    14    Q. Well, was the charge ever rendered in
15 accused me of rape and I said, "Look at the                   15 connection with that a criminal charge?
16 outlaw, the, the layout of my office. You can see             16    A. I believe so, yes.
17 it can't happen except in a bathroom." Where did              17    Q. Was that in DC Superior Court or some
18 she say it occurred?" I said, "Don't tell me                  18 other claims?
19 anything, I will make you a bet that she didn't               19    A. Yes, DC Superior Court.
20 go and get herself tested for a, like post rape               20    Q. What were you charged with?
21 evidence." He said, "No, she did not," and he,                21    A. I don't know that I was charged with
22 and he left.                                                  22 anything. That was what she accused me of.
23     Q. Sometime around the early to mid-                      23    Q. What, and when you were in Superior
24 nineties you had a conversation with a                        24 Court, what was the accusation?
25 metropolitan police officer that you just                     25    A. I don't think it went to court. She




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                                                              18                                                              20

 1 sued me for that.                                                 1 Mr. Kaufman is here pursuant to the legal
 2     Q. I had asked you, and I wanted to make                      2 obligation to be here and I believe that it
 3 sure I was clear. You're saying she pursued a                     3 probably would pierce any confidentiality, but we
 4 civil case for sexual assault?                                    4 could let a judge make that decision if we have
 5     A. Yes.                                                       5 to.
----                     --               ----                                                                                  . .



 6     Q. I thought you told me that she also                        6 •CONTINUATION OF DIRECT EXAMINATION
 7 pursued a criminal case for sexual assault. Did I                 7 BY MR. LINK:
 8 get that wrong?                                                   8       Q. Dr. Kaufman, I was actually just
 9     A. Yes.                                                       9 getting started and asking you about prior
10     Q. She never pursued any criminal case?                      10 testimony of prior litigation. Have you told me
11 Just a civil case as far as you recall?                          11 about all the prior court cases that you have
12    A. I, I really can't, I can't remember, I                     12 been involved in with the exclusion of whatever
13 don't know the difference.                                       13 happened after J6, which we'll talk about?
14     Q. Well, you know, a civil case is about                     14    A. Yes.
15 money damages. You're aware of that, correct?                    15       Q. Your current address, you said you
16    A. Yes. So I would say that her second                        16 lived in Gambrills, Maryland?
17 case, her second allegation was a civil case.                    17     A. Yes.
18     Q. Did you pay money to make her go away?                    18       Q. How long have you lived there?
19     A. Yes, I did.                                               19       A. Since, since October last year.
20     Q. How much did you pay her?                                 20       Q. Last year was 2024. Who do you live in
21            MR. HUNT: Objection. I'm not sure                     21 your current residence with, if anybody?
22 if that settlement was confidential.                             22    A. I'm just renting.
23      A. It was.                                                  23       Q. Who are you renting from?
24      Q, Mr. Hunt, have you, I'm sorry, just to                   24       A. Dr. Nadine Soga.
25 interrupt a follow up on that. Have you reviewed                 25       Q. Is your landlord?


                                                               19                                                             21

 1 the settlement personally, Mr. Hunt?                              1       A. Yes, and a friend.
 2            MR. HUNT: No.                                          2       Q. Is she a romantic friend?
 3            MR. WASER: Then I don't                                3       A. Yes.
 4 understand what the basis for your objection is,                  4       Q. On the topic of who you live with,
 5 Mr. Hunt.                                                         5 anybody else besides that person?
 6           MR. HUNT: Because I assume that                         6       A.    No.
 7 every settlement is confidential and he just                      7       Q. Where did you live before October 2024?
 8 testified that it's confidential. I mean, do you                  8       A. At Crofton Village Apartments.
 9 want to have an in camera review of the                           9       Q. Recall the address?
10 settlement agreement from I believe 30 years ago?                10   A. Well, Crofton Village Apartments. My
11          MR. WABER: I think since how it                         11 apartment was, 904T2.
12 involves an assault, it's quite relevant to this                 12       Q. How long did you live there?
13 matter.                                                          13       A. A year.
14            MR. HUNT: If we could take a                          14       Q. That takes, it takes us back to 2023
15 minute, I can see if we can locate that                          15 approximately?
16 agreement. If you want to give me a minute to                    16       A. Yes.
17 speak with Dr. Kaufman?                                          17       Q. Where did you live before that?
18            MR. WASER: We can keep moving on                      18     A. Two months in jail.
19 the deposition.                                                  19     Q. Was that the DC jail or some other
20          MR. HUNT: Okay.                                         20 jail?
21            MR: WASER: We, when we take a                         21       A. That was, Fort Dix, New Jersey.
22 break, we can do that, but I guess I'm not trying                22       Q. What about before that?
23 to be difficult, but...                                          23   A. 411 East Capitol Street.
24            MR. HUNT: I didn't say you were.                      24   Q. How long had you lived at 411 East
25 I get it. Okay? But even if it is confidential,                  25 Capitol?




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                                                                22                                                                 24

 1     A. Since I think about 1988.                                   1     A. Yes.
 2     Q. Were you living at that address, 411                        2     Q. Ever been married?
 3 East Capitol as of January 6th, 2021?                              3     A. Yes.
 4     A. Yes.                                                        4     Q. How many times?
 5     Q. Do you currently have a business
                       -----                        ----
                                                                      5     A. Once.                                        ----


 6 address?                                                           6     Q. How did your last marriage terminate?
 7     A. No.                                                         7     A. Divorce.
 8     Q. When did you last have a business                           8     Q. What is your ex-wife's name?
 9 address?                                                           9     A. Tracy K. Warren.
10     A. Until I went to jail.                                      10     Q. Were you divorced in DC Superior Court?
11     Q. That was in the summer of 23?                              11     A. Yes.
12     A. Yes.                                                       12     Q. Approximately when?
13     Q. What is your date of birth?                                13     A. I think the summer of 2018.
14     A.   October 26th, 1956.                                      14     Q. How long were you married?
15     Q.   You're a US citizen?                                     15     A. August 20th, 2004, until then.
16     A.   Yes.                                                     16     Q.   How many children do you have?
17     Q.   Do you have your driver's license in                     17     A.   One.
18 Maryland or someplace else?                                       18     Q.   Age?
19     A. Maryland.                                                  19     A.   Twenty.
20     Q. When did you get a Maryland license?                       20     Q.   How far did you go in school?
21     A. I'm not sure. I guess, I guess last                        21     A. Doctorate.
22 fall.                                                             22    Q. Starting with, where did you attend
23     Q. October 2024? Around the time you                          23 high school?
24 moved?                                                            24     A. Bethesda Chevy Chase High School.
25     A. I, I can't remember.                                       25     Q. Graduated in what year?


                                                                23                                                                 25

 1     Q. Before that where was your driver's                         1     A.   1975.
 2 license?                                                           2     Q.   Next, where did you attend school?
 3     A. Washington, DC.                                             3     A.   Montgomery Junior College.
 4     Q. How long, you can tell us, did you have                     4     Q.   Did you attend a degree from there?
 5 a DC driver's license?                                             5     A.   No, I did not.
 6     A.   Probably since 1983.                                      6     Q.   Where did you go after Montgomery?
 7     Q.   How tall are you?                                         7     A.   Scott College.
 8     A.   Five foot, 1a or 11.                                      8     Q.   Did you attain a degree from there?
 9     Q.   How much do you weigh?                                    9     A.   I did not.
10     A.   One hundred and eighty-five.                   "'        10     Q.   Where is Scott College?
11     Q.   Was your weight more or less the same                    11     A.   Davenport, Iowa.
12 as of January 6th, 2021?                                          12     Q. Where did you attend after Scott
13     A. The same.                                                  13 College?
14     Q. What's your eye color?                                     14     A.   Palmer College of Chiropractic.
15     A. Brown.                                                     15     Q.   Where is that located?
16     Q. Hair color. What do you believe your                       16     A.   Davenport, Iowa.
17 hair color to be?                                                 17     Q.   When did you obtain your, is it a
18     A. I don't know. Gray, black.                                 18 Doctor of Chiropractic Medicine?
19     Q. You consider yourself what?                                19   A. Yes.
20     A. I'm sorry?                                                 20     Q. When did you obtain that?
21     Q. Do you consider yourself Caucasian?                        21     A. October, 1980.
22     A. Yes.                                                       22     Q. My understanding, you did not need to
23     Q. As we sit here today, you don't have                       23 obtain a BS or BA to attend chiropractic college?
24 any facial hair. As of January 6th, 2021, you                     24     A. At that time you did not.
25 didn't have any facial hair. Is that accurate?                    25     Q. How many years of undergraduate school




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 1 did you do?                                                             1 district society?
 2      A. Two years.                                                      2      A. Because I've been called a police
 3      Q. How long was Chiropractic?                                      3 killer.
 4      A. Four years. I did it in three.                                  4      Q. Any other reason?
 5      Q. What did you study as an undergrad?                             5      A. No other reason.
   --~- --- -
           -·-         -    --          --   ------   - --                                                -----


 6      A. I was a dual major my first year in                             6      Q. When you last practiced chiropractic
 7 English and.fine art. My second year at Scott                           7 medicine, what was the name of the business that
 8 College, I took a, did two years of science                             8 you had?
 9 courses in one year in order to get into Palmer.                        9      A. Capitol Hill Chiropractic Center.
10      Q. At some point you obtained your                                1O      Q. Is that a LLC or some type of
11 Chiropractic license. Was that in DC for the                           11 corporation?
12 first time?                                                            12      A. At some point in time it was
13      A. No, the first license I acquired, I                            13 incorporated, but I had let that lapse.
14 acquired was in Maryland.                                              14      Q. Were you the sole owner of it when it
15      Q. Ballpark, what year was that?                                  15 was last in business?
16      A. 1981 or 1982.                                                  16      A. Yes.
17      Q. Where did you next obtain a license?                           17      Q. What was the business address of that
18      A. Washington DC.                                                 18 entity.
19      Q. Ballpark, approximately when?                                  19      A. 411 East Capitol Street, Southeast
20      A. 1982, 1983.                                                    20 Washington DC 20003.
21      Q. Any other jurisdictions where you                              21      Q. Did you also reside at that location?
22 obtained a chiropractic license?                                       22      A. I did.
23      A. No.                                                            23      Q. A note from the public record that it
24      Q. As a chiropractor, did you work as a                           24 says your chiropractic license was reprimanded in
25 sole practitioner or did you have a partnership                        25 February of 2024. Does that sound accurate?


                                                                     27                                                             29

 1 or how did your practice go?                                            1      A. Yes.
 2    A. 'Sole practitioner.                                               2      Q. Is it your understanding you could
 3    Q. That the entire time that you                                     3 still practice chiropractic medicine
 4 practiced?                                                              4 notwithstanding the reprimand?
 5    A. Yes.                                                              5      A. Yes.
 6    Q. When is the last time you worked as a                             6      Q. Is that the only time in your
 7 chiropractor?                                                           7 professional career that you've had a
 8    A. I guess it was, I guess it was before I                           8 disciplinary activity on your license as a
 9 went to jail.                                                           9 chiropractor?
1O    Q. Sometime of 2023?                                                10      A. My license had lapsed once before,
11    A. Well, I went to jail in July but I                               11 maybe twice due to a bureaucratic snafu. So, I
12 guess I, I was wrapping up the practice in the                         12 don't know if a reprimand was, was given for
13 months running up to that.                                             13 that.
14     Q. Did you sell your practice?                                     14      Q. When was that approximately?
15    A. I was not able to sell my practice, no.                          15      A. It happened twice. One time in the
16     Q. Why were you not able?                                          16 eighties and one time in the nineties.
17    A. Because of these allegations against                             17      Q. Do you have professional discipline,
18 me. My practice was worthless.                                         18 the most recent professional discipline had to do
19     Q. Do you have any intention of returning                          19 with your conviction in federal court, correct?
20 to chiropractic medicine?                                              20      A. I've never had a professional
21     A. I am trying to make up my mind about                            21 discipline before. The only one was that
22 that. Since I only have a license in the district                      22 February, 2000, the one that you, you mentioned a
23 and I'm shunned in district society, I don't see                       23 few years ago or, two years ago.
24 how it's possible.                                                     24      Q. When you were last performing
25     Q. Why do you say you're shunned in                                25 chiropractic services, you're saying that your




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                                                              30                                                                  32

 1 business was no longer incorporated in DC or any                 1 year.
 2 place else?                                                      2    Q. In a sentence, can you tell us what the
 3     A.   Right.                                                  3 substance of the article was about?
 4     Q. Have you ever been in the military?                       4     A. The debate had come up about the
 5     A.   No.                                                     5 national debt and I wrote an article about the
                                                                                                                          --


 6     Q. National Guard, anything like that?                       6 national, the Am-erican national debt being $37
 7     A.   No.                                                     7 trillion was equal to one outlets estimate of all
 8     Q. It appears that in addition to being a                    8 the money in the world.
 9 chiropractor, you also are an author. Is that                    9     Q. How many pieces do you believe you
10 accurate?                                                       10 contributed to the American Thicker?
11     A. Yes.                                                     11     A. I'm really not sure. Maybe, maybe four
12     Q. Have you published books, articles,                      12 or five.
13 what have you published?                                        13     Q. Were they all of the political nature
14     A. Both.                                                    14 genre?
15     Q. Do you have a regular publication where                  15     A. Political or philosophical.
16 you've contributed articles or pieces?                          16     Q. Does the American Thinker have a
17     A. Yes.                                                     17 political agenda?
18     Q. What publication and I guess I'm dating                  18    A. Not that I know of.
19 myself, publication and sort of but, I'm                        19   Q. What is Flo, you said you contributed
20 including online articles or websites when I use                20 something, Floppy Access?
21 the word publication. What entities or companies                21     A. Flopping, ACE, Flopping ACEs.
22 or organizations have you regularly published                   22     Q. What is that?
23 before the Washington Post?                                     23     A. A online magazine.
24     A. The Washington Times, American Thinker,                  24     Q. What have you contributed to them?
25 flopping ACEs, international Chiropractic                       25     A.     I can't remember.


                                                              31                                                                  33

 1 Association.                                                     1     Q. When was the last time?
 2     Q. I obviously know what the newspapers                      2     A.     Probably two or three years ago. No,
 3 are. When is the last time you contributed to the                3 longer than that. Four years. Four or five years.
 4 Washington Post?                                                 4    Q. What was the substance of your last
 5   A. Early 2000s.                                                5 piece?
 6     Q. What kind of pieces did you write for                     6    A. I can't remember.
 7 them?                                                            7     Q. Is that an online publication?
 8     A.   I wrote about chiropractic and health                   8     A. Yes.
 9 issues and commentaries on the city, living in                   9     Q. You mentioned the International
10 the city.                                                       10 Chiropractic Association. What is that?
11     Q. How about for the Washington Times?                      11   A It's a professional association for
12 What kind of pieces did you write for that paper?               12 chiropractors.
13   A. Commentaries on living in the city.                        13     Q. What's your relationship with them?
14     Q. Can you give us an example?                              14     A      I'm a member. I have offered my
15     A    I can't, I really can't remember.                      15 services as an officer, but I'm not an officer.
16     Q. Did you ever write about MPD?                            16     Q. Are you on the board?
17     A.   I don't think so.                                      17     A      No.
18     Q. American Thinker, what is that?                          18     Q. Have you ever been?
19    A It's a, political, philosophical,                          19     A I was offered a, a substantial position
20 current events online magazine. Oh, I also                      20 in the 1980s and I didn't take it.
21 contributed, fiction pieces to Liberty Island                   21     Q. Are you aware you're still listed on
22 Magazine and Cinder Q Literary Magazine.                        22 their website as having a connection with that
23     Q. When is the last time you contributed                    23 organization?
24 to American Thinker?                                            24     A. Well, I am a member.
25     A.   Recently. Last, last year or early this                25     Q. Do you attend meetings?




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 1    A.   No.                                                    1 Press.
 2    Q.   Do you get paid to attend meetings?                    2     Q. Where does that...
 3    A.   I do not. I don't attend meetings.                     3     A. I'm having a meeting today with my
 4    Q.   You must, you've also published books,                 4 literary agent, so I really, it's sort of in
 5 yes?                                                           5 limbo, but I'd like to come out as quickly as
 6    A.   Yes.                                                   6 p-ossible, and that's, Amazo-n wants it.
 7    Q.   How many?          ,                                   7     Q. What is The Theory of Everything about?
 8     A. Two.                                                    8     A. Well, The Theory of Everything is
 9     Q. The names?                                              9 trying to find a center point for everything
1O     A. Caesar America's one Party Rule and                    1O human. I'm trying to approach it from, instead of
11 Robot Archangel, and another one is coming out                11 the astrophysics and quantum physics side, a
12 before too long.                                              12 humanitarian· explanation of what that is.
13     Q. Do you have the same publisher for both                13     Q. Humanitarian explanation of what
14 books?                                                        14 exactly?
15     A. No.                                                    15     A. The Theory of Everything is the theory
16     Q. Taking that, and then you're going to                  16 that you can find one functional point that
17 tell me about the third one, but Cesar Americas,              17 defines everything human and probably maybe
18 would this fall on the genre of science fiction?              18 everything in existence.
19     A. No.                                                    19     Q. Is this, sounds like a fictional book?
20     Q. What would you characterize it to be?                  20     A. No, this is nonfiction.
21     A. Political drama.                                       21     Q. The Fires Press, what books did they
22      Q. I'll give you more than a sentence.                   22 publish for you?
23 Give me a few sentences. What the plot and the                23     A. They published Robot Archangel.
24 story behind Caesar Americas is, please?                      24     Q. Are you working now at any place?
25      A. It was, it, focused on a, a stolen                    25     A. No, I, I'm, I'm focusing on, on, my


                                                            35                                                              37

 1 presidential election and a long-term uprising                 1 writing.
 2 between right and left, finding common ground                  2     Q. You said the last time you worked was
 3 because of health concerns, and that led to                    3 when you were a chiropractor in 2023,
 4 interesting political developments.                            4 approximately?
 5     Q. When did you write that book?                           5     A. Yes.
 6     A. I wrote that between 1992 and 1998.                     6     Q. Do you have any hobbies?
 7     Q. Come back to that. Your second book was                 7    A. Oh, I'd like to also mention another
 8 Robot Archangel?                                               8 book that I'm about to complete, is called
 9     A. Yes.                                                    9 Political Conflict and Human Realization.
1O     Q. Two sentences. What was that about?                    10     Q. Is that a nonfiction book?
11     A. That is 600 years in the future.                       11    A. Nonfiction.
12 Humankind's final resolution with artificial                  12     Q. Do you have a publisher for that?
13 intelligence going from dystopia to utopia, a                 13     A. No, it's not finished.
14 happy ending.                                                 14     Q. What is that book about?
15     Q. Is that science fiction or something                   15    A. Political conflict and human
16 else?                                                         16 realization.
17     A. Science fiction.                                       17     Q. I had seen an interview with you where
18     Q. T~e third book you said you're about to                18 you said you described yourself as a student of
19 publish is what?                                              19 stolen elections. Would you agree with that?
20     A. The theory of everything.                              20     A. That I'm a student of stolen elections?
21     Q. When is that to be published?                          21     Q. Yes.
22     A. I don't know yet.                                      22     A. I'd be very interested in them because
23     Q. Do you have a publisher?                               23 of what, partly what I study.
24     A. Yes. Well, two Amazon wants it, but I                  24     Q. What do you study?
25 might go back to my other publisher, Defiance                 25     A. Well, if you're taking a whack at the




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 1 theory of everything, everything's on the table.                     1 getting back into it. I've been contacting some
 2 Certainly human realization and anything that                        2 of my old band mates.
 3 leads to human realization.                                          3      Q. Let's talk about Tai Chi. What is Tai
 4     Q. Have you read books about stolen                              4 Chi?
 5 elections?
                                                          -   -
                                                                        5     A Wow.
                                                                                  --~
                                                                                       Wow. Tai Chi is a meditation based
                                                                                         -
                                                                                       -----   -


 6    A No. I've read books about history and                           6 art using non-movement and very small movements
 7 philosophy.                                                          7 to follow into the rabbit hole of existence, and
 8     Q. Is there a particular period of history                       8 I'm not kidding.
 9 that you're interested in when it comes to this                      9      Q. What kind of movements or non-movements
10 topic?                                                              10 are you talking about?
11     A. No.                                                          11    A Slow choreograph movements called
12     Q. Is there a particular philosopher that                       12 postures that are done in a meditative way or
13 you're interested in when it comes to this topic?                   13 standing meditation. Instead of sitting
14 Who, what have you read about stolen elections?                     14 meditation, you do standing meditation.
15 What books, articles?                                               15   Q. When did you start practicing Tai Chi?
16    A. The only, the only thing, I haven't                           16      A When I was 16.
17 read anything in particular on stolen elections.                    17      Q. Is this sort of like going to yoga
18 I wrote a novel about stolen elections.                             18 class when you learned it or how did you acquire
19     Q. Well I'll make it bigger political                           19 knowledge about Tai Chi?
20 conflict. What book or philosophers have you read                   20    A From a teacher at our high school, he
21 written about as it pertains to political                           21 actually ran the, the theater and we were looking
22 conflict?                                                           22 for a, a faculty member to be so that we could
23     A. Oh, you're really restricting it if you                      23 form a club and he volunteered and his art was
24 talk about what I've written publicly about or                      24 Tai Chi, so I started learning it there.
25 written in my books.                                                25      Q. You've been practicing Tai Chi from age


                                                                  39                                                              41

 1    Q. Well, I'll just start. What have you                           1 16 until today, and you're approximately 67, 68?
 2 studied? What have you read about?                                   2      A Just turned 68.
 3     A. Well, I mean, I'm trying to say I'm                           3      Q. How many days a week do you engage in
 4 interested in everything. So I'll read anything,                     4 Tai Chi?
 5 especially if it's, you know, in the canon of,                       5      A Daily.
 6 you know, philosophy or, political authorities.                      6      Q. •Have you taught Tai Chi?
 7 But I generally stay away from contemporary                          7      A Yes.
 8 stuff. I'm looking at timelines; I'm looking for                     8      Q. Do you have a regular class that you
 9 patterns. So, you know, the, the, the whole                          9 have given?
10 pantheon of philosophers and political thinkers.                    10      A    Not anymore. It fell apart after these
11 Nothing really contemporary.                                        11 accusations.
12    Q. I was going to ask you about any                              12      Q. When and where did you teach Tai Chi?
13 hobbies you have outside of being a chiropractor                    13      A I taught Tai Chi starting in 1992,
14 and author. What hobbies do you have?                               14 every Saturday for free on the capitol grounds.
15     A Tai Chi, writing, reading, going to the                       15 Then I also had a class for free on Saturdays in
16 driving range sometimes, I'm a little interested                    16 Lincoln Park, and I think I did that for about 28
17 in food, I like old movies.                                         17 years.
18     Q. Did you also have a band?                                    18      Q.   Were these outdoor classes?
19     A Yes, I did.                                                   19      A    Yes.
20     Q. What music instrument do you play?                           20      Q.   Did people pay you for your time?
21    A. Oh yeah, music, guitar and a little                           21      A    No, those were free classes.
22 piano.                                                              22      Q.   How long did the classes last?
23      Q. Are you still in a band? Do you still                       23      A    Each time?
24 perform?                                                            24      Q.   Approximately?
25    A No, but I've been thinking about                               25      A    About two hours.




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                                                               42                                                             44
 1     Q. What, can you summarize what's involved                    1    Q. Is there any part of the lower
 2 in the practice ofTai Chi without getting into                    2 extremity movements that you can summarize
 3 all the philosophy? I'm just interested in the                    3 besides what I just said in terms of shifting
 4 physical aspect. What do you do?                                  4 weight between your legs?
 5
--
       A So you, you teach people the, the
     --------   -
                                                                     5    A. I, I don't understand the question.
                                                                             -

 6 choreographed postures and you teach them how to,                 6    Q. Sure. Are you trying to balance
 7 how to meditate.                                                  7 yourself when you're doing Tai Chi?
 8      Q. What are the choreograph, you said                        8    A Yes.
 9 choreographed postures. What does that mean?                      9    Q. Besides balance and shifting weights,
10      A It's called the form. There's 37                          10 what else are you focused on when you're doing
11 postures.                                                        11 Tai Chi in your legs?
12      Q. Are they standing, sitting? Both?                        12    A Well, you're trying to use the, the
13      A No sitting. You're stepping from one                      13 legs a lot for health reasons.
14 leg onto the other leg, back and forth. While                    14    Q. Is there kicking involved?
15 you're doing the choreographed form.                             15    A Hardly.
16      Q. When you say choreographed form. Are                     16    Q. Is there crouching involved?
17 there certain steps, sort of like a dance routine                17    A I'm sorry?
18 has steps when you do Tai Chi?                                   18    Q. Crouching, C-R-0-U-C-H?
19      A Yes, 37 steps.                                            19    A Yes. There's one posture, two postures,
20      Q. Do you consider Tai Chi to be a martial                  20 three postures that you could say yes. Have some
21 art?                                                             21 sort of a crouch.
22      A Yes.                                                      22    Q. Each of these postures, I assume they
23      Q. Can you use Tai Chi for purposes of                      23 have the 37, each have a name?
24 self-defense?                                                    24    A Yes.
25      A Yes.                                                      25    Q. With respect to your upper extremity,


                                                               43                                                             45
 1     Q. Have you ever done that?                                   1 your arms, leg and hands, what do you doing when
 2     A No, not really.                                             2 you do Tai Chi?
 3     Q. Does Tai Chi involved the use ofany,                       3     A You're doing a, a choreograph sequence
 4 objects, sticks, anything like that?                              4 of movements that, the Chinese philosophy says
 5     A There's Tai Chi sword, there's Tai Chi                      5 are, designed to cultivate Chi and move Chi
 6 saber, there's Tai Chi staff, there's Tai Chi                     6 through, the, the internal organs and the limbs
 7 fan, there's Tai Chi spear. I once knew Tai Chi                   7 in a certain way that is beneficial to health
 8 sword. I don't, I've forgotten it, the form, and                  8 else.
 9 I knew Tai Chi staff and I've forgotten that too.                 9     Q. One other thing. Would this involve
10     Q. Staff like S-T-A-F-F?                                     10 extending your arms, raising your arms?
11     A Uh-huh (Indicating affirmatively).                         11     A You don't raise your arms much,
12     Q. Have you taught each of these                             12 because, I don't know. It's just not, it's not
13 techniques?                                                      13 done very much.
14     A No, I haven't. I've only taught the,                       14     Q. What are you doing with your arms when
15 the form. I've never taught sword or staff. I                    15 you're doing these three seven techniques?
16 forgot them too quickly.                                         16     A You're following the choreography.,
17     Q. You say you've taught the form. What                      17     Q. Are there any of these fast movements?
18 does that mean?                                                  18     A No. There's a style called Chen style
19     A That means teaching the 37                                 19 that I don't do. It's not really Tai Chi that
20 choreographed movements.                                         20 does fast movements.
21     Q. With respect to your legs and lower                       21     Q. Are you, do you have a rank, like a
22 extremity, would it be fair to say that part                     22 black belt or, I don't know if there's a similar
23 affects you, is balancing and moving your body                   23 rating system, but do you have a rank?
24 weight between your legs?                                        24     A Chinese martial arts doesn't have a
25     A. Yes.                                                      25 belt system.




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 1     Q. The answer is no; you don't have a                        1 take about a five-minute break just to break this
 2 rank?                                                            2 up. We can use the restroom.
 3     A. I don't have a rank, no.                                  3            MR. HUNT: Sounds good.
 4     Q. If you're expert at it, notwithstanding                   4            COURT REPORTER: It is 11 :24 a.m.
 5 the rank, do they call you like maven of Tai Chi?                5 and we are off the record.
                                                                                                                          -

 6    A. No, I mean, there's famous masters who                     6 (OFF THE RECORD) (11 :24 a.m.)
 7 are, you know, who were called grand masters, and                7 (WHEREUPON, a short break was taken.)
 8 then it seems, you know, ordinary teachers will                  8 (ON THE RECORD) (11 :34 a.m.)
 9 call themselves master or their teachers will                    9 CONTINUATION OF DIRECT EXAMINATION
10 call them or their students will call them                      10 BY MR. LINK:
11 master. My Tai Chi grand teacher was, you know,                 11   Q. Dr. Kaufman, I wanted to follow up on a
12 didn't like any of that. He called himself, he                  12 couple things. We, when we broke, you were
13 was just a, he was a professor and he, he was,                  13 talking a little bit about your Tai Chi and the
14 called Professor Jones and my teacher, his senior               14 37, moves that you used as a Tai Chi order,
15 student, he was, you know, we just called him                   15 correct?
16 Ben, Ben Low.                                                   16      A. Yes.
17     Q. Have you ever published anything about                   17      Q. Are you familiar with a move called
18 Tai Chi?                                                        18 Repulse Monkey?
19     A. Yes.                                                     19   A. Yes.
20     Q. What publications?                                       20      Q. What is that?
21     A. I think it was called Tai Chi Magazine.                  21      A. It is a backward step and as you step
22     Q. Approximate once or more than once?                      22 backward, you leave your hand out in front of you
23     A. I'd say maybe I published three things.                  23 almost like you're, like a mine and leaving your
24     Q. When is the last time you published                      24 fingertips, touching an imaginary piece of glass
25 that?                                                           25 in front of you. So as you step back, you leave


                                                              47                                                                  49

 1     A. I'm going to say the mid-nineties.                        1 your hand out in front of you and it's a sequence
 2     Q. What was the general substance of what                    2 of moves, either three or five or seven where
 3 you were writing about?                                          3 you're, doing this, gesture.
 4    A. Someone had written in and criticized                      4      Q. Are you able to just demonstrate where,
 5 the, Jon Ming, professor Jon Ming's style of Tai                 5 while you're seated there, what it looks like?
 6 Chi and said it was really hard on the knees. I                  6 The record would reflect; it looks to me as a lay
 7 responded with an article pointing out that that                 7 person that you're pushing your arms forward in a
 8 wasn't the case. I outlined the sources of knee                  8 rotating fashion bent at the elbow. Is that
 9 problems, the four sources of knee problems.                     9 accurate?
10     Q. Anything else you recall about what you                  10      A. As you're stepping back so that your
11 published?                                                      11 arm has no net, forward action, you are actually
12     Q. No, not really.                                          12 stepping away from your hand, not pushing out
13     Q. Do you consider yourself an expert in                    13 against anything.
14 Tai Chi?                                                        14    Q. Got it. What is, there's a, those calls
15     A. Well, that's for others to say. I know                   15 step forward, punch low, and maybe that's not the
16 more than most.                                                 16 term, you know, it has, but it, does that sound
17     Q. Other than Tai Chi, have you, do you                     17 familiar?
18 have any experience in any other martial arts?                  18      A. Yes. It's called low punch.
19     A. No.                                                      19      Q. What exactly is that?
20     Q. Other than Tai Chi, do you do anything                   20      A. You are squatting down and extending a,
21 else in terms of getting fit?                                   21 a punch that would be directed at the leg or the
22     A. I do some pushups and sometimes I shoot                  22 knee.
23 basketball hoop, other than those, no.                          23      Q. Is that a punch with a closed fist as
24    Q. We have been going for approximately                      24 we would think of it?
25 two hours, if my math is correct, I was going to                25      A. Yes.




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 1     Q. Can you just briefly demonstrate while                    1      A. Yes.
 2 you are on Zoom? What that would look like when                  2      Q. Were you able to perform all your
 3 you punch, how do you punch? Like, describe the                  3 duties as a chiropractor before January 6/2021?
 4 movement of your arms if that's a better                         4      A. I have to look out for my shoulder.
 5 question?                                                        5      Q. Were you able to see your patients and
                                                                                                                                -
 6     A. It's, professor Jang used to describe                     6 treat them as needed before January 6/2021?
 7 it as it's like, pulling a, a gun out of a                       7      A. Yes, but I have to modify anything I do
 8 holster and presenting it like in a Western.                     8 with my right arm.
 9     Q. But when present the gun then the gun                     9      Q. How so?
10 goes parallel to the floor? Your ankle parallel                 10      A. It's, it's not up to snuff and you
11 to the floor?                                                   11 know, part of that comes from, from chiropractic
12     A. Well you're punching down the, your arm                  12 work, so, I, I just can't, my, my right arm is
13 is, is aimed downward.                                          13 subpar. you know, I definitely don't want to get
14     Q. I will give you one more. There's                        14 in a fight, with anything. My, my arm is probably
15 something called embracing tiger and return to                  15 right arm is probably 50 percent what it, what it
16 the mountain. What does that involve?                           16 should be.
17     A., Let me think. Tiger return to the mail.                 17      Q. Any doctor told you your arm was 50
18 Oh yeah. yes, that's, that's a posture.                         18 percent of what it should be?
19     Q. I'm not going to go through all three                    19    A. I have got, stem cell stem, cell
20 seven. But you would agree that many of the moves               20 treatments for it.
21 that you expert in involve use of your hands and                21    Q. Before January 6th, he treated you for
22 your arms?                                                      22 your right shoulder?
23    A. Yes.                                                      23      A. No one treated me for my right
24     Q. Is that an accurate?                                     24 shoulder. I would, I would get chiropractic
25     A. Yes,                                                     25 adjustments and have my shoulder adjusted.


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 1     Q. Let me direct your attention to January                   1      Q. The stem cell you, would be after
 2 6th, 2021. Do you remember that day?                             2 January 6/2021?
 3     A. Yes.                                                      3      A. Yes.
 4     Q. Did you did you take any medication or                    4      Q. I just want to be accurate what I'm
 5 any substances that day before you went to the                   5 hearing. Before January 6/2021, you had
 6 capital or the thing you acknowledged doing?                     6 complaints of right shoulder problems. You
 7     A. No, I did not.                                            7 attribute that at least in part to your work as a
 8     Q. That was a Wednesday. Is that accurate?                   8 chiropractor, but you did not have treatment for
 9     A. I don't remember.                                         9 it before Jan,uary 6th, 2021. Is that accurate?
10     Q. Were you in good physical shape that                     10      A. I've had shoulder issues, for 20 years
11 day?                                                            11 and, they've gotten, it's gotten worse and I've
12     A. Yes.                                                     12 had colleagues work on it, you know, whenever I
13     Q. Were you under the care of any doctor                    13 could.
14 for any reason that day?                                        14    Q. These are chiropractors?
15     A. No, but I've had ongoing shoulder                        15      A. Yes.
16 problems.                                                       16      Q. Other than your shoulder that you just
17     Q. You're saying before that day you had                    17 told us about. Any problems with your health
18 ongoing shoulder problems?                                      18 before January 6th, 2021?
19     A.   Mm-hmm (indicating affirmatively.) Yes.                19    A. None that I can think of now.
20     Q. Right or left?                                           20    Q. You're wearing glasses. Do you wear
21     A. Right.                                                   21 contacts as well?
22     Q. Are you right or left hand dominant?                     22      A.   I don't.
23     A. Right.                                                   23      Q.   You wear glasses for near or far?
24     Q. Were you working full time before                        24      A.   For reading and close up.
25 January 6/2021?                                                 25      Q.   In January 6/2021, you had no problem




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 1 with distance vision?                                            1 neighborhood, you could, you could hear it. You
 2     A. No, I did.                                                2 can't hear what people are saying. You just, you
 3     Q. No problem with distance vision?                          3 can, you can tell there's a crowd and they're,
 4     A. Yes. I had no problem with distance                       4 they're doing something.
 5 vision.                                                          5    Q. You agree you knew what the purpose of
 6     Q. How about your hearing? How was your                      6 the crowd was that day. Yes?
 7 hearing?                                                         7    A. No, I don't agree.
 8     A. Very good.                                                8      Q. Your testimony is before you crossed
 9     Q. When did you first decide to attend the                   9 the building, you had no idea why people were
10 events of the Capitol on January 6th, 2021?                     10 gathering outside the Capitol?
11     A. Well, I'm not sure when they started,                    11      A. Yeah, I don't remember. Right. I don't
12 but from my house, I could, I could hear, hear a                12 remember knowing anything about it. Just
13 crowd and I wondered, you know, what it was                     13 wondering what the heck was going on.
14 about. So I can't remember if I looked on the TV,               14      Q. Did you attend with anybody else?
15 if I turned on the TV to find out what was going                15      A. No.
16 on or what. But in any event, I got my phone and                16      Q. Did you tell anybody you were going?
17 went down there as I often do for many, many                    17      A. No.
18 different types of protests.                                    18      Q. At any time while you were on the
19     Q. Were you watching the events on TV                       19 Capitol grounds, from the time you were there
20 before you decided to attend?                                   20 until the time you left, did you see or
21     A. As I said, I, I don't remember. I don't                  21 communicate with anybody who you had known before
22 remember that. I know that I heard the crowd and                22 that day?
23 I don't remember if I turned on the TV to find                  23      A. No.
24 out what was going on. I think I just went down                 24      Q. Tell us what you observed as you made
25 there.                                                          25 your way from your residence to the Capitol?


                                                              55                                                              57

 1   Q. Did you know that there was going to be                     1    A. As I, as I walked down the street, I
 2 some type of rally that day?                                     2 could see there was a crowd and as I approached,
 3     A. No.                                                       3 I took out my phone and I kept, you know,
 4     Q. Were you aware that there was a speech                    4 recording as I was walking towards the crowd.
 5 given by President Trump that day?                               5     Q. What did you observe?
 6    A. No.                                                        6      A. A huge crowd of people.
 7     Q. Did you attend the speech of President                    7      Q. Did you hear anything they were saying?
 8 Trump?                                                           8      A. No. I mean, you know, it's just a dent.
 9     A. No. I was home.                                           9      Q. When you arrived close to where the
10     Q. When you said you heard things from                      10 crowd was, did you hear anything they were
11 your house, just give me, I'm generally familiar                11 saying?
12 where the Capitol Street is, but how far is your                12      A. No.
13 residen~e from say, where the crowd was?                        13      Q. You would agree there were people there
14     A. I, I lived at Fourth and East Capitol,                   14 with signs ...
15 so the Capitol grounds were four blocks away.                   15      A. Yes.
16 That's why I gave Tai Chi classes there for all                 16      Q. ... and other things?
17 of those years.                                                 17      A. Yes.
18     Q. What did you hear?                                       18    Q. Your memory, what the what did the
19     A. Just, you know, the sound of a, a big                    19 signs say?
20 crowd.                                                          20    A. Well, they were obviously Trump, Trump
21     Q. Can you tell us the words that were                      21 signs.
22 being used?                                                     22      Q. Can you be any more specific than that
23     A. No, it's just, you know, you're too far                  23 about the signs that you saw?
24 away, but, you know, oftentimes, you know, when                 24      A. Flags, various Trump signs.
25 there's a protest, in my neighborhood, my old                   25      Q. Did you see signs that said "Stop the




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 1 seal?"                                                            1      Q. Were you aware that the House and
 2     A. Yes.                                                       2 Senate were there that day?
 3     Q. More than one?                                             3      A. No.
 4     A.   Yes.                                                     4      Q. Do you consider yourself a politically
 5     Q. What did you do after you arrived to                       5 engaged person?
                                                                                            --   --

 6 where the crowd was?                                              6      A. Yes.
 7     A.   I wanted to get into the crowd as deep                   7      Q. Before January 6th, 2021, where did you
 8 as I could and see what, people were saying and                   8 get your news?
 9 what they, what they wanted, what their motives                   9      A.   Mostly, well, I didn't have cable.
10 were, why, why they were there, what they were                   10 Gosh, I don't know. Local news, talking with
11 saying. What was happening.                                      11 friends, you know, I wasn't busy on the internet.
12     Q. What did you learn?                                       12 That's a good question.
13     A. That they were there to protest the,                      13   Q. Your testimony is you're not aware of
14 the election.                                                    14 what was going on inside. You're not aware what
15     Q. Anything more particular you learned                      15 was going inside the building, you met with
16 besides that?                                                    16 protesters, or I guess they identified as
17     A. Well, in general that's what it was.                      17 protesters and they told you that, and they must
18     Q. What was going on in the Capitol                          18 have told you why they were there?
19 building that day?                                               19      A. Well, I wasn't really engaged in, in,
20     A.   I, you know, made my way up to the, the                 20 you know, dialogue with anyone at that point in
21 portico, the top of the portico to see what was                  21 time. I just wanted to get up where things were
22 going on. That's where, because mostly people                    22 happening and see what was happening from a
23 were just standing around and talking, talking to                23 historical standpoint.
24 one another, you know, drinking coffee and stuff                 24      Q. What was historical?
25 like that. So, I made my way to the top of the                   25      A. Well, you know, as I, as I said to


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 1 portico to see what was going on.                                 1 friends afterward, I said, you know, they will be
 2    Q. What time was this?                                         2 talking about this for 3000 years. So and that
 3    A. I have no idea. I'd have to look at the                     3 was everything. You know, the George Floyd
 4 timestamp on my phone.                                            4 protest, the political conflict that was
 5    Q. Would you agree with sometime early                         5 happening in the country and in the, in the, in
 6 afternoon?                                                        6 Washington DC. So I was going to lots of
 7     A. Yes.                                                       7 different protests just to, just to be there to
 8     Q. Without holding you to the exact times?                    8 see what was going on.
 9     A. Yes.                                                       9      A. When you said they were going to be
10     Q. My question is, what was going on                         10 talking about this, what is this?
11 inside the building that day?                                    11      A. The political conflict that's happening
12     A.   I have no idea. I had no idea anybody                   12 in the country now. Biden, Trump, all the back
13 was inside.                                                      13 and forth.
14   Q. Did you come to learn what was going on                     14      Q. You would agree, can we agree that
15 inside Dr. Kaufman?                                              15 before January 6th, 2021, you were aware that
16     A.   Before I went inside?                                   16 there had been an election, a national election
17     Q. Yes.                                                      17 in November of 2020?
18     A. No, I had no idea anybody was inside.                     18      A. Yes.
19 There were a large, a large body of police on the                19    Q. Did you keep up to speed on the events
20 portico guarding the doors, so I have no idea                    20 leading up to and after the election, including
21 anybody was inside. I would've been shocked.                     21 the news of reported news of who won and who
22    Q. Would've been shocked about what?                          22 lost?
23     A. That they were inside.                                    23      A. Yes.
24     Q. Who's that?                                               24      Q. Where did you obtain that information?
25     A. Protesters.                                               25      A. From those sources that I described




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 1 earlier. Like I said, I didn't, I didn't have                           1    A. I, I can't remember in particular, but,
 2 cable TV, so, TV, you know, local TV, regular TV,                       2 you know, I would equate it with entering any,
 3 friends, oh, you know, I mean, the thing is, you                        3 any capital building or any, any, you know,
 4 know, when you're, you know, when you're engaged                        4 Russell senate office building, you know,
 5 with patients, you know, you're, everybody's                            5 Longworth building, Rayburn building, all of
             --- ------~-   -                      -   ---   --                    -   --   -----


 6 talking about everything. So, you know, having a,                       6 them. You know, you got to take your stuff out
 7 a chiropractic office like mine with what we call                       7 and walk through the screener.
 8 open adjusting, where there's, there's no walls,                        8      Q. Do you recall being after you were
 9 you know, there's no privacy, because you, if                           9 there to see?
10 somebody brings you a baby to adjust                                   10    A. I'm sorry, I'm sorry?
11 chiropractically, you want people to ask, wow,                         11      Q. Do you remember after you were there to
12 why is he adjusting a baby? A baby doesn't have                        12 see?
13 back pain. So with open adjusting, it's, it's a                        13      A. You mean that other time that I, I
14 lot of fun. It's a, it's a big discussion.                             14 walked into the Capitol?
15      Q. What websites did you frequent before                          15      Q. Yes. About six years before?
16 January 6th 2021?                                                      16      A. No, I, I don't think I, I was, I didn't
17      A. I don't remember frequenting any.                              17 go in to see anyone. I just, you know, went in to
18      Q. Did you ever read any local newspapers?                        18 peek in.
19 We have two?                                                           19    Q. Back to January 6th, did you observe
20      A.   Definitely. Yes.                                             20 any barricade structures, anything like that as
21      Q. Which ones?                                                    21 you approached the building?
22      A. Power Post most often.                                         22    A. Well, I did not because I was, you
23      Q. When you approached the building, you                          23 know, holding up my phone and walking, walking
24 saw the crowd, you saw signs, you heard people,                        24 forward, you know, making a video. Looking at
25 were they, were people chanting things?                                25 that, you know, that video later, all of those


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 1      A. Yes.                                                            1 barriers had been moved aside. So I wasn't
 2      Q. Shouting things?                                                2 looking for barriers. The barriers had been moved
 3      A. Yes.                                                            3 aside and I was on my phone holding it and
 4      Q. What kind of things were they yelling                           4 looking at a little screen as I was walking
 5 or chanting?                                                            5 forward, making sure I was taking a good shot.
 6    A. I don't really remember. Lots of stuff.                           6    Q. Why did you record it?
 7    Q. Nothing?                                                          7     A. Because they will be talking about this
 8     A. Yeah, I don't really remember anything                           8 for 3000 years.
 9 in particular.                                                          9     Q. When is the last time you had been to
10     Q. With respect to the Capitol itself,                             10 the Capitol before, outside the Capitol before
11 when is the last time you had been in the Capitol                      11 this?
12 building before January 6th?                                           12    A. That's very difficult to say. I, I take
13    A. I think maybe like, maybe six years                              13 walks, I took walks around there all the time.
14 before that.                                                           14      Q. When you were last there before January
15      Q. Just in a sentence, what was the                               15 6th, were there barriers that were moved?
16 purpose of your going there?                                           16    A. Would you repeat the question please?
17    A. Well, you know, I've probably taken 500                          17      Q. When you were last at the Capitol,
18 walks around the capitol, you know, just, at                           18 before January 6th, were the barriers moved, as
19 night or daytime, just for something to do                             19 you said they were on when you saw that on
20 because it's so beautiful. I think I just walked                       20 January 6th?
21 in one of those days just to have a look.                              21    A. Well, there were, there were, there
22      Q. When you walked in, did you have to go                         22 usually aren't barriers there.
23 through security?                                                      23      Q. Did you have an understanding as to the
24      A. Yes.                                                           24 purpose of the barriers?
25      Q. What did that involve?                                         25      A. Well, these are lightweight barriers




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 1 that, you know, I think that they can put up,                     1 Divorce? Accurate?
 2 that Capitol police can put up at their                           2    A. Yes.
 3 discretion to both maybe barricade people or to,                  3      Q. Before entering the rotunda Capitol,
 4 you know, extend lines or wrap lines around. It's                 4 were you on the portico, the landing outside of
 5 those sort of lightweight, freestanding barriers.                 5 the entrance?
 6     Q. Got it. Do you have an understanding as                    6    A. Yes.
 7 far as why those lightweight, freestanding                        7      Q. Tell us what you remember happening out
 8 barriers were there?                                              8 there?
 9     A. Well, as I said, and the only reason I                     9    A. So, I was standing there and, standing
10 knew this is because I later reviewed my video.                  10 beside people who were talking with the police.
11 Those barriers were not in place. They were moved                11 It was very collegial. I could talk about one
12 aside. There were no barriers standing when I,                   12 conversation I saw. An older gentleman was,
13 that I remembered when I walked towards the                      13 talking with a police officer, and the police
14 Capitol down on January 6th.                                     14 officer said to him, "See, this is what happens
15     Q. How large would you estimate the crowd                    15 when I let you come up." The protester, the older
16 was?                                                             16 protester said, you know, "I'm sorry, guy, you
17     A. Wow. I, I have, I have no idea.                           17 know, they're not listening to me." All three of
18     Q. Did you see a police presence?                            18 us laughed and I clapped an officer on the
19     A. No, I saw no police presence. The only                    19 shoulder. Then people were just milling about on
20 police presence I saw was up on the portico, and                 20 the top of the portico. Then all of a sudden,
21 that's why I wanted to go up there.                              21 through no verbal or hand sign I saw, they just
22     Q. Why?                                                      22 started surging at towards the police and the
23    A. Because I wanted to see the interaction                    23 doors, and ...
24 between protesters and the police. What was being                24      Q. Go ahead?
25 said? what was the motivation and what was going                 25      A. Then remember, well, you're, you're


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 1 to happen.                                                        1 pinned inside the crowd and you can't get out.
 2     Q. What did you observe? I assume you got                     2 The same officer that we had been talking with or
 3 close enough to see what was going on, yes?                       3 that I had been observing the, the conversation
 4    A. Yeah, well, it was just a bunch of                          4 with and whom I, I clapped in a friendly way on
 5 people standing around and some of them talking                   5 the, on his, on his arm like, you know, I, I
 6 with the police.                                                  6 understand life is, life is crazy, people are
 7     Q. Did you see the "Interaction between                       7 crazy. He suddenly yelled at me and the, the
 8 the police and the public" when you ...                           8 other guy, he said, 'We're about to pepper
 9     A. Yes, I did. I was standing right in                        9 spray." I didn't know what he was, I didn't
10 front of it. I wanted to see it.                                 10 actually understand him. I knew he, he said,
11    Q. What did you observe?                                      11 "We're about to some, some, some something." I
12    A. Very collegial.                                            12 didn't know what he meant. I, it was garbled, you
13     Q. Did you, Dr. Kaufman have an                              13 know, it was so loud at that point. Then pepper
1'4 understanding as far as why the police were                     14 spray got splashed full in my eyes and I
15 there?                                                           15 realized, oh, he was, you know, being a nice
16     A. Well, I, I mean, technically no. I                        16 enough guy trying to tell us, you know, look how
17 mean, but you know, you've got a, a huge crowd                   17 close your eyes are going to, we're going to
18 there and they're protesting the election. Why                   18 pepper spray you. So, I was fully blinded. I, I
19 wouldn't you have, you know, police there?                       19 couldn't see anything and I was, you know, really
20   Q. Was this US Capitol MPD or what police                      20 scared of, I don't think there was a, as I
21 do you recall seeing?                                            21 remembered it, there was no railing on those
22    A. I, I don't, I don't recognize specific,                    22 porticos, and they're really high. I was really
23 I don't remember specifically.                                   23 scared of getting nudged off the edge and ha
24     Q. You would agree that you entered the                      24 having no sight at all. So, I was just trying to
25 Capitol building that day through the Rotunda                    25 stay, in the crowd and near the police. So, you




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 1 know, the crowd is like this python and it's                             1 jacket and as best I could, pulled him out of
 2 surging forward and it's relaxed and surging                             2 that in the angle of that incent and moved him
 3 forward. I keep staring down, looking at my feet,                        3 aside, out of the way because the pressure,
 4 waiting for my eyes to clear.                                            4 seemed to be going towards the doors. I was
 5     Q. How close were you to the entrance when
                   ~-                         -   -   -   -            -
                                                                            5 grabbing the woman and going to do the same thing
 6 this ...                                                                 6 for her. The crowd surged. So I just put my arms
 7     A. The surge? I was, I was trying to stay                            7 up and formed a box around her to protect her as
 8 close to the police and, and stay, you know, stay                        8 best I could.
 9 in the middle of the portico as best I could.                            9    Q. Did you ever get their name?
10     Q. But there's a, there are large bronze                            10    A. No.
11 doors there. Yes?                                                       11    Q. What happened next?
12     A. Yes.                                                             12    A. The doors opened up and, there's a
13     Q. My question is, how close when you got                           13 Plexiglas, there's a bulletproof Plexiglas thing
14 pepper sprayed or maced, how close were you to                          14 there. The doors opened up and, they, they waved
15 the doors?                                                              15 me in and I went in. The reason I, the only
16     A. Oh, I mean, I, I would say I was sort                            16 reason I went in is because I thought they were
17 of in the middle of the portico. I was in front                         17 doing me a solid because they saw that I was
18 of where the police were.                                               18 trying to save the lives of these, these two old
19    Q. You were talking with them?                                       19 elderly people. They were, you know, I couldn't
20    A. Yes.                                                              20 see, I could barely see. I think at that point I
21    Q. Several?                                                          21 maybe had 15 percent vision, and I was thinking,
22    A. Well, I was mostly listening to the                               22 what do they see behind me that I don't, you
23 conversation. I didn't really, I don't remember                         23 know, they opened the door, I'm going in.
24 participating in the conversation at all, but I                         24    Q. Who opened the door?
25 just remember laughing at the cop. He was                               25    A. Capitol Police.


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 1 obviously a very nice guy and just, you know,                            1     Q. When you went there, did you enter with
 2 swatting him in a friendly way on the shoulder. I                        2 this couple or any, the woman or the man or
 3 don't remember talking to speaking myself to                             3 anybody like that?
 4 anybody, any, any police officers or protesters.                         4     A. Well, I, you know, like I said, I could
 5    Q. Remember seeing or meeting an older                                5 barely see. I went in and I turned around, to, to
 6 couple?                                                                  6 meet her or, you know, or help her.
 7    A. Well, do you mean the, the older                                   7     Q. Did she come in with you?
 8 gentleman and the woman, at the, at the doors?                           8    A. I don't know. I don't know because I
 9    Q. Apparently you, you've mentioned in a                              9 could barely see.
10 prior statement that there were older people                            10    Q. Well, did, when you got back in you
11 there. That's what I was asking you about?                              11 were at the doorway, would you agree?
12      A. Yes. So I was just trying to wait, you                          12    A. When I was inside the Capitol?
13 know, keep away from the portico, stay near the                         13    Q. Yes.
14 police and, until my eyes cleared. Then, you                            14    A. Yes, I was, I was by the door. But
15 know, the, the crowd was surging forward and,                           15 there were about 13 police there.
16 there's a, the, the main entrance, was incent a                         16    Q. Right.
17 little bit. So in that incent, me and this, these                       17    A. I don't really remember that except
18 older elderly gentlemen and the elderly woman                           18 that, in, in my criminal trial, they showed
19 were being crushed up against the, the doors.                           19 pictures of me coming into Capitol. So it's, it's
20 They were both turning red, and I mean, there                           20 been refreshed in my memory that there are about
21 were long periods where you could not breathe. So                       21   13 cops there.
22   I grabbed the man, he said, "I'm going down,                          22      Q. I just want to make sure I heard what
23   brother, I'm going down." I, I, you know, I can't                     23   you said. Are you saying that you believed you
24   take it. I don't know what he said. I said, "I                        24   were let into the building that day because
25   know you can." I grabbed him by the scruff of his                     25   somebody was showing you a gesture of goodwill




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 1 because you were assisting this woman and this                    1 because we were being crushed.
 2 man?                                                              2    Q. Did you have an understanding as far as
 3     A.   That, yeah, that was my, that was, my                    3 to why the officers were using mace on you and
 4 impression. I mean, otherwise why would the doors                 4 the others that day before you entered the
 5 open up?                                                          5 building?
                                  -------                                                        -

 6     Q. Did you see the same two people, the                       6    A. Of course.
 7 husband, the man and the woman when you were                      7      Q. What was the reason?
 8 inside the building at any time?                                  8    A. Deter the crowd. The crowd had started
 9     A. You know, I only, you know, I'm looking                    9 to surge for some reason. Like I said, I was
10 through an aperture of, you know, chemical                       10 there, nothing I saw that was said, no hand
11 blindness and I could describe the guy. I don't                  11 signals, nobody saying, come on, let's go. It
12 know that I ever saw the woman's face because she                12 just started surging. So I think that it was for
13 was faced away from me and getting crushed into,                 13 a crowd dispersal.
14 into that, the angle of the inset. I don't know.                 14      Q. When you got into the building, there
15 I don't even know if they were together. I just,                 15 were tons of entrance. What did you observe?
16 they were just being, they were going to                         16   A. I turned around and, and waited for
17 suffocate. He was almost purple.                                 17 instructions from the police that let me in. You
18    Q. When you made your way to the doors,                       18 know, now that I'm in the Capitol, what do I do?
19 did you have to go up a flight of stairs or                      19      Q. Did you obtain instructions?
20 several flight of stairs?                                        20   A. No, they were paying no attention to
21     A. Well, the portico, the portico has a                      21 me. They were having a, they were having a, a
22 long advance of steps, but I, I don't remember                   22 spirited conversation with some guy.
23 any, any steps on the portico. As I said, I was                  23      Q. Do you recall what the substance of the
24 just trying to burrow forward so that I stayed in                24 spirited conversation was?
25 the middle.                                                      25      A. I have no idea.


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 1   Q. Would you agree you had to burl up to                        1    Q. Was that between a police officer and a
 2 where the door was?                                               2 protester?
 3    A. I was just moving forward with the                          3    A. Yes. I assume the guy was a protester.
 4 police. I was trying to stick with the police.                    4      Q. Did you observe anything physical
 5 The last thing I wanted was to be moved sideways                  5 occur?
 6 to the left, because I knew I was on the left                     6    A. No, not really. Just like I said, a
 7 side and, and get pushed off blind off the                        7 spirited conversation. I have no recollection
 8 portico. I have, what is that, 20, 25 feet? I                     8 specifically of what, about what they were
 9 don't know. I know it's, it's, it's roadway down                  9 talking about. It seemed like the protester
10 there because I know that part of the Capitol                    10 wanted something and the cop was trying to
11 very well. I used to, as I said, I taught Tai Chi                11 explain himself or, or procedure or something.
12 down there and we'd go into that area to get out                 12    Q. How long had you been on those steps
13 of the wind from a cold winter morning. So if I                  13 before you entered the building?
14 got pushed off, I was going to be pushed onto                    14      A. I would say, I mean, it feels like I'm
15 maybe a car or onto the roadway.                                 15 just grasping, I would say half an hour.
16     Q. Dr. Kaufman, did you go there with the                    16      Q. In that half an hour you were talking
17 intention of going into the building that day?                   17 to people?
18     A.   Hell no.                                                18    A. No, like I said, at first when I was up
19     Q. Did you wind up in the building that                      19 there, I was just, you know, trying to see what
20 day?                                                             20 the interaction was between protesters and the
21     A.   Did I wind up in the building that day?                 21 police. Then the crowd started surging and then
22     Q. Yes.                                                      22 we got pepper sprayed, and then I was just trying
23     A. Yes. I was let in by Capitol Police and                   23 to huddle with the cops and not get pushed, you
24 I only went in because I thought they were doing                 24 know, anywhere, you know, stay on solid ground in
25 me a solid and trying to get us out of the way                   25 the middle because I, I really couldn't see.




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 1     Q. Did you come to learn before you made                      1     Q. Officers, okay. Did you ever ask them,
 2 your way into the building that day, the reason                   2 "Hey, what about the old lady I'm trying to
 3 why these protestors were there?                                  3 help", or worse to that effect?
 4     A. Well, yeah. Yeah.                                          4    A. Well, like I said, I mean, I could
 5     Q. What did you learn? -                                      5 barely see when I came in and I was standing
            ---                                                     --    --  ----~----                           ------


 6     A. Well, they were protesting the, the                        6 there for a while. I don't know if she came in
 7 validation of the election.                                       7 after me or what. Then, you know, I just said,
 8     Q. Did you come to learn what was                             8 well, you know, now what do I do with myself? I
 9 happening as you were making your way into the                    9 figured, you know, I got to, I got to find a way
10 building?                                                        10 out of here. I relied on my old memory of the
11    A. Well, I was let into the building.                         11 building from, back when I was a, a gopher for
12 Then, you know, I waited for the cops to tell me                 12 the Joint Economic Committee. I knew I couldn't
13 what to do and nobody was paying any attention to                13 go out the door as I came in, so I, I knew that
14 me. The cops completely ignored me. I thought                    14 there was an obscure door on the, that would be
15 that, you know, somebody would've said, you know,                15 the south side, on the house side. It was, I was
16 wow, you know, we saw you, you know, with the old                16 on the upper floor, so I'd have to go down to
17 man and the, and the woman, you know, wow. You                   17 the, the, the downstairs floor. So when the cops
18 know, that was, that was a close call, blah,                     18 didn't tell me anything to do, I just started
19 blah, blah. But, you know, there was absolutely                  19 walking to try and find my way down to that, that
20 nothing. So then I said, well, now what will I do                20 doorway and get out.
21 with myself? Then I turned around and I was                      21     Q. You mentioned that you were a gopher.
22 amazed to see, you know, my vision is slowly                     22 Was that your actual job title?
23 coming back. Now I can kind of see like 20                       23    A. No, assistant to the, probably like
24 percent. I was absolutely stunned to see the                     24 assistant to the director.
25 place, you know, one third of the way full of                    25    Q. How long did you have that position?


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 1 people with their phones and, you know, going                     1    A. Nine months.
 2 around and, you know, using the strobes on their                  2     Q. Would it be fair to say that you became
 3 phone, and their people were saying, 'We are                      3 familiar with the layout of the Capitol building
 4 inside the Capitol. We are inside the Capitol."                   4 during your nine months there?
 5     Q. What kind of regalia were they wearing?                    5     A. Yes, because I had to make deliveries.
 6     A. Well, they just, you know, it was just                     6 Mail deliveries twice a day, morning and
 7 like ordinary people, you know, I'm assuming that                 7 afternoon.
 8 they're, protesters because they're, they're not                  8    Q. You would actually have to deal with
 9 dressed as in police uniforms.                                    9 both chambers in that position? I'm just going by
10     Q. Do you remember people wearing MAGA                       10 the job title. You would've to deal with both the
11 hats or Trump shirts, things like that?                          11 house side and the senate side?
12    A. Yes. Yes.                                                  12     A. Yes, and it was mostly on the house
13    Q, More than a few?                                           13 side. Not that many deliveries, I don't know why,
14    A. I'd say. I'd say one third.                                14 to the Senate side. It was also delegated among,
15    Q, My question is, I'm not sure I got an                      15 you know, the, the like four, four staff
16 answer. Did you come to learn what was going on                  16 assistants.
17 that day in terms of what Congress was doing?                    17     Q. Interesting.
18    A. I, I was not aware that Congress was                       18    A. You didn't, you didn't make deliveries,
19 there or, or anything else. All I had learned,                   19 you didn't make the morning and afternoon
20 learned at that point in time was that, they were                20 delivery yourself every day.
21 protesting the election. People were protesting                  21    Q. As a gofer, this is sounds like the
22 the election.                                                    22 days before email and texting and whatever you
23    Q. When you made your way in, you said                        23 would deliver letters, envelopes, et cetera, from
24 that the officer was ignoring you?                               24 person to person in that building?
25    A. Officers.                                                  25    A. Yes.




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 1     Q. Did you become familiar with the                           1 were, you know, really in sightsee, you know, as
 2 stairwells, entrance exits, things of that                        2 sightseers.
 3 nature?                                                           3    Q. Did anybody make any reference to the
 4     A. Yes, and that's what I was trying to                       4 Speaker Pelosi, as you made your way towards her
 5 rely upon what I recall.                                          5 office?
                     -- --   _,_   ~--                                                                                       ----


 6     Q. You said that you were trying to rely                      6      A. No. One guy kicked at the door
 7 upon that after you entered the building?                         7 violently and everybody yelled at him, " Stop.
 8     A. Yes.                                                       8 Don't do that. Don't break anything. Don't hurt
 9     Q. Your purpose was ...                                       9 anything." I remember them saying, 'We don't do
10   A. When nobody told me what to do, I                           10 that."
11 wanted to get out of the building.                               11      Q. Did you hear protesters use the word
12     Q. Your testimony is you had no intention                    12 Nancy in a pejorative way as they made their way
13 to remain in the building?                                       13 down the quarters that day, Dr. Kaufman?
14     A. No.                                                       14   A. No, not that I remember.
15     Q. Where did you next go then?                               15      Q. Did any of the protesters with whom you
16     A. I started making my way towards the                       16 communicated share your views on Speaker Pelosi
17 speaker's office because I remembered, I thought,                17 that day?
18 I remembered there was an obscure staircase                      18      A. I, I didn't, I didn't...
19 somewhere around her office that I could get                     19           MR. HUNT: Objection to form of
20 downstairs and get out that.                                     20 the question. You can answer.
21    Q. As of January 2021, who was the                            21             DEPONENT: Can I answer or no? I
22 speaker?                                                         22 don't...
23    A. Nancy Pelosi.                                              23             MR. HUNT: Yes, you can answer.
24     Q. How long does it take from the Rotunda                    24      A. Okay. I didn't, I didn't have any, any
25 to get to the speaker's office in terms of a                     25 discussions with anyone.


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 1 walk?                                                             1      Q. As somebody who I think you consider
 2     A. Well, you know, you had, you had people                    2 yourself politically engaged, and among other
 3 in there and, and you know, the crowd would stop                  3 things that published articles, did you have an
 4 moving. So, so how long? I mean, I don't know. I                  4 understanding as far as the views of the people
 5 mean, I would say that all in all, I think I was                  5 in the building that day towards Speaker Pelosi?
 6 probably in there for about a half an hour.                       6           MR. HUNT: Objection to the form
 7     Q. What I heard you say is you got in and                     7 of the question. You can answer.
 8 you thought there would be a good idea to go                      8      A. Not in particular, no.
 9 towards the speaker's office, that would be that                  9    Q. If I were to tell you there were
10 of Speaker Pelosi. You made your way towards her                 10 certain people who were adamantly opposed to
11 office?                                                          11 Speaker Pelosi, including those who were at the
12    A. I was looking for the stair, the                           12 building that day, was that notion surprising?
13 staircase, an obscure staircase that I knew went                 13           MR. HUNT: Objection to the
14 downstairs, and, as I remembered it, there was a,                14 formative question. You can answer.
15 a side entrance that I could get out of. That's                  15      A. No, but I'll say for myself, the only
16 where I was going.                                               16 reason I was, I was there at all was, because
17    Q. As you made your way towards the                           17 I've written a book, you know, about this kind of
18 speaker's office, did you hear what, if anything,                18 political upset and only was I interested in
19 the crowd of people, you said you were surprised                 19 going there for the historical impact. Anybody
20 to see this crowd. Did you hear what they were                   20 that goes inside or thinks they're going to, you
21 saying?                                                          21 know, do anything to Nancy Pelosi, they've got
22     A. I, you know, I don't really know that,                    22 their head up their ass, and don't do it.
23 you know, there was no organized chanting or                     23    Q. You made your way down the, from the
24 anything like that. It was really, you know, some                24 Rotunda toward the speaker's office. What
25 people were yelling. Most of the people I think                  25 happened next?




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 1   A. So I, you know, I, I don't, you know,                             1      Q. Stared at a computer?
 2 memory is failing me, so I've got to go different                      2      A. Yeah, it was a laptop.
 3 places, you know, it's like a, like a, a little                        3    Q. My understanding is you took a
 4 bit of a maze. I came upon the speaker's office                        4 photograph of that laptop, is that accurate?
 5 and, just, you know, out of historical curiosity,
     ----                      ~             --      ~~--
                                                                          5   A. Yes, I did. Historical moment.
 6 I went in there and also, you know, the obscure                        6    Q. You said the people were talking shit,
 7 staircase might've been in her office complex. So                      7 those were your words. What does that mean? What
 8 I went in there as again, hunting for that, that                       8 words you hear, was talking shit?
 9 staircase, and then went out because I didn't                          9     A. Well, just, you know, I, nothing really
10 find it and I kept searching.                                         10 specific comes to mind. You know, you've got all
11          Q. To be clear, you went into the, her                       11 of these people and some of them are talking and
12 office where presumably she has her desk?                             12 some of them are responding, you know, to one
13     A. Yes.                                                           13 another. None of them seem to know each other.
14     Q. Her telephone and her computer?                                14 So, you know, as to specific things that they
15          A. Yes. As I recall that, that obscure                       15 said, you know, I would just qualify, quantify it
16 staircase, I'd have to keep going South to                            16 as, you know, just talking shit.
17 towards the, the end of the building on the house                     17    Q. Can you give me an example?
18 side. As I recall that, that staircase was facing                     18      A. No, not specifically. I don't really                 /


19 that outdoor wall and underneath another                              19 recall anything. You said people were calling
20 staircase. So I was always trying to find my way                      20 Nancy. I do kind of recall that maybe that's, you
21 south to the end of the building.                                     21 know, that's something like Nancy.
22          Q. Would you agree that in order to go                       22      Q. The room where you went to go shoot the
23 into the speaker's office, you had to make a                          23 picture of the laptop, is that separate from the
24 detour from your search for the staircase?                            24 office where her desk is or is it the same room?
25          A. No, because I couldn't remember exactly                   25      A. I don't really remember. I don't really


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 1 where the staircase was. So I entered into the                         1 remember specifically where that was.
 2 speaker's office. There's a, you know, a, a                            2    Q. How long did you remain in her office?
 3 grouping of, of offices, and I thought the                             3     A. I think I, I think I might have stepped
 4 staircase might be in there.                                           4 in and out of her office because it didn't, it
 5    Q. You would agree you were not invited                             5 wasn't going to lead to the staircase, the
 6 into the speaker's office?                                             6 staircase.
 7          A. Of course.                                                 7      Q. Did you have a view of Speaker Pelosi
 8          Q. Who else was in there when you went in?                    8 at that time?
 9          A.   Protestors.                                              9     A. Did I have a view of Speaker Pelosi?
10          Q. How many?                                                 10      Q. Yes?
11          A. Well, I mean, in the hall, you know, in                   11      A. Physically?
12 the, the hallways, I'd say probably like 14.                          12   Q. In person to go to, as the Speaker of
13    Q. What did you observe them doing?                                13 House. Did you have a view of her, like opinion?
14    A. They were walking around, you know, and                         14      A. Oh, a view of her?
15 looking around, you know, you know, talking shit                      15      Q. Mm-hmm?
16 but, you know, it's like, you're not really with                      16    A. Well, you know, she's a pretty doggone,
17 anybody. I mean, people are just, they're moving                      17 capable woman.
18 from room to room, like, like sight seasons, you                      18      Q. Is that it?
19 know. Like I said, so they're in motion and I'm                       19   A. Yeah. I mean, I, you have to
20 in motion because I'm looking for the staircase.                      20 understand, I think that, you know, anybody who
21 So I didn't really engage with anybody. There was                     21 is in there and thinks that they're going to do
22 a conference room and there was a computer on it                      22 anything constructive or, you know, anything that
23 and, you know, people were just sort of, you                          23 contributes to the political narrative has their
24 know, staring at this. I did too, you know, out                       24 head up there. I mean, I wrote a novel on a
25 of, you know, historical moment.                                      25 stolen election, you know. So and, you know, it




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 1 wasn't, it wasn't this scenario at all, but you                   1     Q. I've heard another possible reason why
 2 know, it, if anyone has going to steal an                         2 you were in the building that day, had something
 3 election, you know, they, they know that they can                 3 to do with your desire to report on it, maybe
 4 do it. A stupid, you know, protest at the Capitol                 4 acting a journalist. Did you view yourself as
 5 is, is not going to get anything done.                            5 being a journalist or somebody who was going to
          -                                                                                    --   ---


 6      Q. Would you view the elections being                        6 report on it that day?
 7 stolen, Dr. Kaufman?                                              7    A. Well, you know, Western Civil, you
 8      A. I, I really, I really hadn't, you know,                   8 know, I, I write about philosophy. I write about,
 9 made up my mind. You know, I would have to wait                   9 you know, political turmoil, human realization,
10 and see the evidence and see the discussion.                     10 political events, human events, history, what's
11      A. Did you have a view on maybe in the                      11 going on here? Is there a pattern? I believe
12 past whether Bernie Sanders had been robbed of an                12 there is, and in that interest. But no, I'm not
13 election? Have you ever given a view on that?                    13 a, a, I didn't consider myself an online
14      A. Yes, I told them, I, I definitely did.                   14 journalist or anything, but definitely getting
15 I, I told the FBI that I thought that his                        15 grist for the mill for, you know, what I'm very,
16 election had been that they had stolen it from                   16 very interested in and what I will spend the rest
17 him.                                                             17 of my life writing about.
18      Q. Who's they?                                              18     Q. Do you remember giving statements to
19      A. The Democrat party. Whoever makes those                  19 the FBI right after you were arrested?
20 decisions for the Democrat party, they stole it                  20     A. Yes. Yes. I gave a lengthy statement
21 from Bernie early, you know, his early momentum.                 21 without counsel.
22 They stole his early momentum.                                   22     Q. Were you honest and truthful when you
23     Q. Did you also have a view as far as                        23 gave that statement?
24 whether there were states that had robbed Trump                  24     A. Yes.
25 of certain votes in 2020?                                        25      Q. Have you had a chance since that time,


                                                               91                                                              93

 1    A. I, you know, I may have an opinion, but                     1 June of 2022, I believe to go over what you said?
 2 you know, you, you just, you just wait and see                    2     A. No.
 3 what people are doing. I'm not going to lead a, a                 3     Q. In retrospect, is there anything that
 4 protest and, and, and say it's, it's this way or                  4 you believe you didn't or not fully complete and
 5 that, you know, I think it'll, it'll come out in                  5 accurate about?
 6 time.                                                             6     A. I, I can't think of anything ...
 7    Q. Had you ever previously expressed the                       7           MR. HUNT: Objection to the form
 8 view that the same thing happened in the 2020                     8 of the question. I mean, he didn't even see the
 9 election, that it happened to Bernie Sanders in                   9 document but you can answer it.
10 2016?                                                            10    Q. Talking about your, what you told the
11    A. I would say I probably did. You know,                      11 FBI when you were interviewed for about an hour
12 jocular talk and loose talk and you know, just in                12 and a half, by an officer?
13 laughing about things with friends.                              13    A. I, I have never reviewed it, and, but I
14    Q. Wasn't that the reason you were in the                     14 stand by it.
15 Capitol building out there, Dr. Kauffman?                        15    Q. After you were in Speaker Pelosi's
16    A. No, no. Like I said, I never would've                      16 office, there was a mention that something broke
17 entered that building, had I not been waived in                  17 or there was a sound or something breaking. Do
18 by police and in the context of saving a little                  18 you remember that?
19 old man and a little old woman, and presuming                    19     A. Yes.
20 that they saw through the Plexiglas window that I                20     Q. What happened?
21 was doing a, that, that I was doing a solid and                  21     A. So after I left the speaker's office
22 they were trying to help us. That's the only                     22 and you know, and looking everywhere for the, for
23 reason I went in. You got to be stupid to think                  23 the staircase, I came out into the main hall and
24 that something like that is going to, you know,                  24 was going to continue my movement South, where I
25 upset the, the gears of, of government.                          25 remembered the staircase. As I was, I approached




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 1 that and there was a lot of people so that I                1 and, you know, the cops around her and the
 2 couldn't go any farther. Later I realized, I,               2 protesters. They were saying, you know, 'Why did
 3 later I came to realize that was at the Speaker's           3 you shoot her? Why did you shoot her?" It was
 4 gallery, and so I backed up and I'm thinking, you           4 hard to pick out because it was, again, it was a
 5 know, well, now what am I going to do? You know,            5 dent. The cops were, were you know, talking to
                                                                                                -   -   -   -   -------


 6 how am I going to get out? I heard a big bang. I            6 the protesters and the protesters were talking
 7 didn't bother looking because I thought that                7 back to the cops.
 8 sounded like a gunshot and whatever happened, it            8      Q. Before you heard the sound of gunfire,
 9 has nothing to do about it now. So I didn't even            9 did you see what the people were doing in the
10 bother looking around at first. I just stood               10 hallway?
11 there and just wondered what, you know, what the           11      A. They were just standing there.
12 heck do I do now? Because that was the staircase           12      Q, How far were you from this crowd?
13 that, that, at least one of them that I                    13 Crowded people?
14 remembered. I thought I remembered a smaller               14      A. So as I recall, when I turned into that
15 staircase. But I, I, you know, I pretty much               15 area where the staircase would've been, I could
16 looked everywhere and, and yeah, that group of             16 see glass doors you know, wooden and glass doors
17 people was, was blocking the staircase and I had           17 ahead over the, the heads of the protesters. I, I
18 no idea that there were, that there were cops              18 don't remember, you know, if I'm imagining that
19 there too.                                                 19 it's a gallery or, you know, I, I put my memory
20     Q. But you found the staircase?                        20 of that there later on. But the crowd was just
21     A. Well, I knew that staircase was there,              21 standing there. They weren't really, they weren't
22 but I thought there was a smaller staircase. But           22 doing anything. I didn't join them. I was
23 I just, I didn't know What to do. I didn't know            23 standing, you know, a good way behind them and
24 where to look next.                                        24 just seeing that nothing was happening. They
25     Q. My question is; did you take the                    25 weren't going anywhere. So I just pulled back and


                                                         95                                                                   97
 1 staircase?                                                  1 around the corner and where I couldn't see what
 2     A. No, I, I'm telling you that that                     2 was going on, and that's when I heard the
 3 staircase to the speaker's gallery, to the, I               3 gunshot. So I wasn't even sure if it was a
 4 think it's called the House Gallery or Speakers             4 gunshot at the, at the time, but I, you know, I
 5 Gallery, there was a, a crowd of people in there            5 said, you know, well, whatever the heck that is,
 6 and a crowd of, of protesters. They weren't doing           6 there's nothing to be done about it.
 7 anything. It was just a big clot of humanity that           7    Q. Did you see a set of doors there?
 8 wasn't moving. So, rather than stand there with             8    A. I think so. I think over the crowd of
 9 them, I moved back and was leaning against the              9 people, you know, I could see a transom, a glass
10 wall and thinking about, you know, what I was              10 transom in, in a wooden frame.
11 going to do.                                               11    Q. Was the door open?
12     Q. You said, you heard a sound, you                    12    A. I couldn't see the, you know, the, the
13 thought it was gunfire, thought about it. What             13 crowd was too big.
14 did you next to do?                                        14    Q. Did you hear anything the crowd was
15     A. Well, the, you know, then, you know,                15 saying?
16 there's an uproar there. So at some point in               16    A. I don't really know that they were,
17 time, like maybe five minutes later, I look back           17 they were saying anything.
18 and now I can see it's a whole squad of police on          18    Q. Did it appear that the crowd ·was trying
19 the, on the stairs. There, you know, you know,             19 to get through the doors to you?
20 milling about, milling about, and you know,                20    A. It did not. I did not even realize that
21 they're saying, "They shot her! They shot her!             21 they were stuck. I thought, you know, there was
22 They shot her." So, I, I tried to, you know, make          22 just a big crowd, you know, at the stairs and
23 my way forward and, and see, you know, what the            23 nobody was, you know, moving. Maybe there were
24 heck was going on, what were people talking                24 people coming up, maybe there were people going
25 about. Then I saw Ashli Babbitt on the stairs              25 down. It was just a big, you know, log jam.




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